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 a                                                                    CENTRqL DISTRfCT OF CALIi-CR~!IA
                                                                      ~ ~v _ .1 ,             D~Fi1l Y
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                        UNITED STATES DISTRICT COURT
 s                     CENTRAL DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                       Case No..      (,,~      \ ~ _ ZS~ 3 — ~=Mtn

11                        Plaintiff,

12            vs.                                    ORDER OF DETENTION AFTER HEARING
                                                       [Fed.R.Crim.P. 32.1(a)(6) ;
     M~~~ (~-~"~'„'ter'
13                                                      18 U.S.C. 3143(a)]

14                  ~?~1-v~ts T—!~
                          Defendant
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18          The defendant having been arrested in this District pursuant to

19   a    warrant    issued   by     the   United        States   District      Court       for     the

20        ^~`~'~ ~~S~C~'               for alleged violation{s) of the terms and

21   conditions of his/her [probation] [s                   rvised rele s,e~; and

22          The   Court    having    conducted       a    detention   hearing        pursuant            to

23   Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C. ~ 3143(a),

24          The Court finds that:

25   A.    (~The defendant has not met his/her burden of establishing by

26          clear and convincing evidence that he/she is not likely to flee

27          if released under 18 U.S.C.          ~       3142(b) or (c)        This finding is

            based on      M ~~ ~-y'~ Q ~             p~- ~l       tt~, C,'.~C~ ~~~- a ~r (-i^
     Case 2:13-cr-00253-FMO Document 105 Filed 11/17/21 Page 2 of 2 Page ID #:673




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4         and/or

5    B.   ( )   The defendant has not met his/her burden of establishing by

6         clear and convincing evidence that he/she is not likely to pose

7         a danger to the safety of any other person or the community if

8         released under 18 U.S.C. ~ 3142(b) or (c).              This finding is based

9         on:

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14        IT THEREFORE IS ORDERED that the defendant be detained pending

15   the further revocation proceedings.

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17   Dated:        1~   ~~\~~

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